
*457OPINION.
Korngr, Chairman:
The Commissioner apparently treated the proceeds of the Cowart and Yan Landingham note as an asset belonging to the estate or, on the other hand, treated the flowing of the proceeds of the note from the makers to the bank as a payment of a liability of the estate, which was to the same effect. But in so treating it, the Commissioner did not, on the contrary, increase the estate’s indebtedness which it satisfied, by the corresponding amount of $2,000. We are of opinion that the petitioner is correct in his contention that the note in question was not an asset of the estate and that the item of $2,000 was improperly included by the Commissioner in the decedent’s gross estate.
Judgment will l&gt;e entered on 15 da/ys notice, umder Bule 50.
